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                     EXHIBIT K
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Daily Report
1-11-18

8am- working on sketch for James/Jason/Joe for in house
Emails

Joe phone call at 845- 910
Completed sketch 927am

Sent email to Joe
Working on errors for Pricing Quote for Jason and Presentation 930am- 945am

Moved to the                     order Rev1 @ 945am
10am went to Airport.



1-16-18 Back in Office after Moving to Lafayette

Received new iPhone, needed small tutorial on usage.

Set up my email account, and iCloud stuff with Shawn

Had phone conference with James and Kimberly regarding the first draft template for the
       Kim will be addressing the dates with Jason

Completed Service From                 for Rev1 Draft, sent to Jason for approval

Completed                 list for James Stahl Sent email to him and Joe

Joe and I have put James in motion on the                                           for Production.

Working on finishing first draft for                                       - Completed sending to Jason’s
email for approval



1-17-18 Snowed in this morning, worked half day due to safe driving concerns
Reached out to James regarding the WI Screen shots

Reviewed the Sketch sent to me by James regarding the
Spoke to James via phone and discussed some small               issues

Worked the remainder of the day on the S.O.P for performing an                                  – draft
completed sending to Jason for amendments

Also took a brief look at what the
Went over Quote notes prior to leaving the office today




                                                                                                      MUNCY-000142
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01/18/18
Had long over the phone training session with Joe Roberts regarding the
2hr
Reading the Muncy SOPs 1 hr
Writing notes for Jason and daily report 30 min
Checking and sort emails. 30 min
lunch
Creation of a second draft out line for the                 1 hr
            Take into consideration the notes from call with Joe
Creation of draft for                        1 hr
Begin creation of                         for Kimberly 1 hr


1/19/2018

Begin research work instructions
Created a rough draft for
between both parties regarding                                    Completed 2.5 hrs. - Kim

Working on the                                     to customers. Completed 2hrs - Kim
Working on the                                                   Completed 2hrs - Jason
Working on a Excel Draft for                                     In process 1.5 hrs. – Jason




1/22/18
Worked on the                                                  . 1.5hrs COMPLETED
Worked on the Draft of new                   for the additional parts request form. 1 hr. COMPLETED
Worked on the changes for                                 for Jason’s notes above

                1 hr. CONPLETED
Worked on the                                   Draft- 1.5 HRS. COMPLETED
Worked on the                                        Draft - 1hr. COMPLETED
Working on the           for completion this afternoon for Jason as this deadline has passed. 1.5 hrs. In
Process projected completion 1/23/18

Notes:
Referring to list of completion for deadlines whilst making order list in my notes. .5 hrs.

Deadlines for 1st week EOB Jan12th
1st                 – Completed Draft
  st
1                     - completed Draft




                                                                                               MUNCY-000143
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                            – In Process

Deadlines for 2st week EOB Jan19th
                      Completed on 18th Jan.
                – Completed on 17th Jan.
Added per Sales                                    for 25th Jan. Completed on 19th Jan.
All Work Instructions due, I have 10 in total to write this will need more time.
Request extra week

Deadlines for 3rd week EOB Jan 25th
Added per Sales                                      - Completed on 22nd Jan.
Added per Sales                                                 Completed on 22nd Jan.
Finals due for forms
SOP Timeline Due

1/23/18

Worked Most of the day on two things.
Emails .5hr
Spoke with Matt regarding the
He helped me out 1hr
Then the remainder of the day was spent working on finishing the
                     . 6.5hrs. Completed Draft for approval.

1/24/18


Working on Changes regarding              this morning. 1.5hrs.
Emails with Justin, Shawn, James. .5hr
Working on                                          2hrs.
Lunch
Continued working and making notes to come up with a rev                    . 1hr Completed draft
Sales Phone call with                          and how we are going to do this? .5 hrs.
Emails: .5 hrs
Working on                                                                            . 2 hrs. In
Process


01/25/18

Time worked from report:
Emails first thing .5hrs
Completed                                 to be order .xlsx (sent to Jason, James, John) 3hrs
Went to AT&T store to get voicemail set up. Company voicemail not working .5hrs
Lunch-
Finished                     . .45 hrs.




                                                                                                MUNCY-000144
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Worked on                              1 HR
Worked to complete the                                IN PROCESS 1HR
FILE SORTING VIA THE VPN AND MY NEW H DRIVE, NOT WORKING SO WELL, LOST DATA ALREADY. 1 HR


1/26/18

Emails .5hrs.

Forms Timeline:
Begin working on the final for the three main forms for Jason’s approval

            1.           1hr
            2.           .75hr
            3.           .5hr
            4.                           for Monday afternoon 1/29
            5. Sorting and making changes to                . 1.hrs

Continue working on the 8 remainder work instructions for the next week.

Email and phone call with Jason this morning before lunch .2hrs

Begin laying out                        for Jason later this afternoon. 2.hrs

Lunch

Begin
                                                     1.hrs

Begin
                                                   process – Completed 1. hrs.



1/29/2018

Rename forms and sort according to below format. .6hrs.

          format is as follows:




Working on the                                today accordingly to timeline. 1hr.
Break
Updated                            per Jason’s convo on phone today .5hrs – completed




                                                                                           MUNCY-000145
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Continued on                      1.75hr ongoing
Lunch
Continued with the
                - 1.5 hrs. Completed draft
Begin the completion                from documentation according to time line. 2.5 hrs Completed




                                                                                         MUNCY-000146
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Daily Report
1-11-18

8am- working on sketch for James/Jason/Joe for in house
Emails

Joe phone call at 845- 910
Completed sketch 927am

Sent email to Joe
Working on                             for Jason and Presentation 930am- 945am

Moved to the                                 @ 945am
10am went to Airport.



1-16-18 Back in Office after Moving to Lafayette

Received new iPhone, needed small tutorial on usage.

Set up my email account, and iCloud stuff with Shawn

Had phone conference with James and Kimberly regarding the first draft template for the
      . Kim will be addressing the dates with Jason

Completed Service From                             , sent to Jason for approval

Completed                    for James Stahl Sent email to him and Joe

Joe and I have put James in motion on the                                                    .

Working on finishing first draft for                                     - Completed sending to Jason’s
email for approval



1-17-18 Snowed in this morning, worked half day due to safe driving concerns
Reached out to James regarding the WI Screen shots

Reviewed the Sketch sent to me by James regarding the
Spoke to James via phone and discussed some                  issues

Worked the remainder of the day on the                                                     – draft
completed sending to Jason for amendments

Also took a brief look at what the
Went over Quote notes prior to leaving the office today




                                                                                                 MUNCY-000147
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01/18/18
Had long over the phone training session with Joe Roberts regarding the
2hr
Reading the              1 hr
Writing notes for Jason and daily report 30 min
Checking and sort emails. 30 min
lunch
Creation of a                                               1 hr
            Take into consideration the notes from call with Joe
Creation of draft for                      1 hr
Begin creation of                       for Kimberly 1 hr


1/19/2018

Begin research work instructions
Created a rough draft for
between both parties regarding                                    Completed 2.5 hrs. - Kim

Working on the                                                   . Completed 2hrs - Kim
Working on the                                                     Completed 2hrs - Jason
Working on a                                                       In process 1.5 hrs. – Jason




1/22/18
Worked on the                                                  . 1.5hrs COMPLETED
Worked on the                                                                     . 1 hr. COMPLETED
Worked on the changes for                                 for Jason’s notes above

                1 hr. CONPLETED
Worked on the                                   Draft- 1.5 HRS. COMPLETED
Worked on the                                        Draft - 1hr. COMPLETED
Working on the           for completion this afternoon for Jason as this deadline has passed. 1.5 hrs. In
Process projected completion 1/23/18

Notes:
Referring to list of completion for deadlines whilst making order list in my notes. .5 hrs.

Deadlines for 1st week EOB Jan12th
1st                 – Completed Draft
  st
1                     - completed Draft




                                                                                                 MUNCY-000148
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1st                         – In Process

Deadlines for 2st week EOB Jan19th
1st                  Completed on 18th Jan.
  st
1               – Completed on 17th Jan.
Added per Sales                                    for 25th Jan. Completed on 19th Jan.
All                   due, I have 10 in total to write this will need more time.
Request extra week

Deadlines for 3rd week EOB Jan 25th
Added per Sales                                      - Completed on 22nd Jan.
Added per Sales                                                 Completed on 22nd Jan.
Finals due for forms
SOP Timeline Due




                                                                                             MUNCY-000149
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Daily Report
1-11-18

8am- working on sketch for James/Jason/Joe for in house 750k Common adapter plate
Emails

Joe phone call at 845- 910
Completed sketch 927am

Sent email to Joe
Working on                             for Jason and Presentation 930am- 945am

Moved to the                                 @ 945am
10am went to Airport.



1-16-18 Back in Office after Moving to Lafayette

Received new iPhone, needed small tutorial on usage.

Set up my email account, and iCloud stuff with Shawn

Had phone conference with James and Kimberly regarding the first draft
      . Kim will be addressing the dates with Jason

Completed                                          , sent to Jason for approval

Completed                    for James Stahl Sent email to him and Joe

Joe and I have put James in motion on the                                                    .

Working on finishing first draft for                                     - Completed sending to Jason’s
email for approval



1-17-18 Snowed in this morning, worked half day due to safe driving concerns
Reached out to James regarding            Screen shots

Reviewed the Sketch sent to me by James regarding the
Spoke to James via phone and discussed some small            issues

Worked the remainder of the day on the                                                     – draft
completed sending to Jason for amendments

Also took a brief look at what the
Went over Quote notes prior to leaving the office today




                                                                                                 MUNCY-000150
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01/18/18
Had long over the phone training session with Joe Roberts regarding the
2hr
Reading the              1 hr
Writing notes for Jason and daily report 30 min
Checking and sort emails. 30 min
lunch
Creation of a second draft out line for the                 1 hr
            Take into consideration the notes from call with Joe
Creation of draft for                        1 hr
Begin creation of                         for Kimberly 1 hr


1/19/2018

Begin research work instructions
Created a rough draft for
between both parties regarding                                    Completed 2.5 hrs. - Kim

Working on the                                                   . Completed 2hrs - Kim
Working on the Draft                                               Completed 2hrs - Jason
Working on a                                                       In process 1.5 hrs. – Jason




1/22/18
Worked on the Draft                                            . 1.5hrs COMPLETED
Worked on the Draft of new                                             request form. 1 hr. COMPLETED
Worked on the changes for                                 for Jason’s notes above

                1 hr. CONPLETED
Worked on the                                   Draft- 1.5 HRS. COMPLETED
Worked on the                                        Draft - 1hr. COMPLETED
Working on the           for completion this afternoon for Jason as this deadline has passed. 1.5 hrs. In
Process projected completion 1/23/18

Notes:
Referring to list of completion for deadlines whilst making order list in my notes. .5 hrs.

Deadlines for 1st week EOB Jan12th
1st                 – Completed Draft
  st
1                     - completed Draft




                                                                                                 MUNCY-000151
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1st                         – In Process

Deadlines for 2st week EOB Jan19th
1st                  Completed on 18th Jan.
  st
1               – Completed on 17th Jan.
Added per                                          for 25th Jan. Completed on 19th Jan.
All                   due, I have 10 in total to write this will need more time.
Request extra week

Deadlines for 3rd week EOB Jan 25th
Added per Sales                                      - Completed on 22nd Jan.
Added per Sales                                                 Completed on 22nd Jan.
Finals due for forms
              Due

1/23/18

Worked Most of the day on two things.
Emails .5hr
Spoke with Matt regarding the
He helped me out 1hr
Then the remainder of the day was spent working on finishing the
                     . 6.5hrs. Completed Draft for approval.




                                                                                            MUNCY-000152
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Daily Report
1-11-18

8am- working on sketch for James/Jason/Joe for in house
Emails

Joe phone call at 845- 910
Completed sketch 927am

Sent email to Joe
Working on errors for                  for Jason and Presentation 930am- 945am

Moved to the                                 @ 945am
10am went to Airport.



1-16-18 Back in Office after Moving to Lafayette

Received new iPhone, needed small tutorial on usage.

Set up my email account, and iCloud stuff with Shawn

Had phone conference with James and Kimberly regarding the first draft
      . Kim will be addressing the dates with Jason

Completed                                          , sent to Jason for approval

Completed                    for James Stahl Sent email to him and Joe

Joe and I have put James in motion on the

Working on finishing first draft for                                     - Completed sending to Jason’s
email for approval



1-17-18 Snowed in this morning, worked half day due to safe driving concerns
Reached out to James regarding the

Reviewed the Sketch sent to me by James regarding the
Spoke to James via phone and discussed some                  issues

Worked the remainder of the day on the                                                     – draft
completed sending to Jason for amendments

Also took a brief look at what the
Went over Quote notes prior to leaving the office today




                                                                                               MUNCY-000153
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01/18/18
Had long over the phone training session with Joe Roberts regarding the
2hr
Reading the              1 hr
Writing notes for Jason and daily report 30 min
Checking and sort emails. 30 min
lunch
Creation of a second draft out line for                     1 hr
            Take into consideration the notes from call with Joe
Creation of draft                          1 hr
Begin creation of                       for Kimberly 1 hr


1/19/2018

Begin research
Created a rough draft for
between both parties regarding                                    Completed 2.5 hrs. - Kim

Working on the                                                   . Completed 2hrs - Kim
Working on the                                                     Completed 2hrs - Jason
Working on a                                                       In process 1.5 hrs. – Jason




1/22/18
Worked on the Draft                                             1.5hrs COMPLETED
Worked on the Draft of new                                                        . 1 hr. COMPLETED
Worked on the changes for form                            for Jason’s notes above

                1 hr. CONPLETED
Worked on the                                   Draft- 1.5 HRS. COMPLETED
Worked on the                                        Draft - 1hr. COMPLETED
Working on               for completion this afternoon for Jason as this deadline has passed. 1.5 hrs. In
Process projected completion 1/23/18

Notes:
Referring to list of completion for deadlines whilst making order list in my notes. .5 hrs.

Deadlines for 1st week EOB Jan12th
1st                 – Completed Draft
  st
1                     - completed Draft




                                                                                                 MUNCY-000154
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1st                         – In Process

Deadlines for 2st week EOB Jan19th
1st                 . Completed on 18th Jan.
  st
1               – Completed on 17th Jan.
Added per Sales                                    for 25th Jan. Completed on 19th Jan.
All                   due, I have 10 in total to write this will need more time.
Request extra week

Deadlines for 3rd week EOB Jan 25th
Added per Sales                                      - Completed on 22nd Jan.
Added per Sales                                                 Completed on 22nd Jan.
Finals due
              Due

1/23/18

Worked Most of the day on two things.
Emails .5hr
Spoke with Matt regarding the
He helped me out 1hr
Then the remainder of the day was spent working on finishing the
                     . 6.5hrs. Completed Draft for approval.

1/24/18


Working on Changes regarding              this morning. 1.5hrs.
Emails with Justin, Shawn, James. .5hr
Working on                                  -01-010 2hrs.
Lunch
Continued working and making notes to come up with a                         1hr Completed draft
Sales Phone call with Kim regarding            and how we are going to do this? .5 hrs.
Emails: .5 hrs
Working on                                                            for Purchasing. 2 hrs. In
Process


01/25/18

Time worked from report:
Emails first thing .5hrs
Completed                                                (sent to Jason, James, John) 3hrs
Went to AT&T store to get voicemail set up. Company voicemail not working .5hrs
Lunch-
Finished                     . .45 hrs.




                                                                                             MUNCY-000155
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Worked on changes to the               1 HR
Worked to complete the                                IN PROCESS 1HR
FILE SORTING VIA THE VPN AND MY NEW H DRIVE, NOT WORKING SO WELL, LOST DATA ALREADY. 1 HR


1/26/18

Emails .5hrs.

Forms Timeline:
Begin working on the final for the three main forms for Jason’s approval

            1.           1hr
            2.           .75hr
            3.           .5hr
            4.                             for Monday afternoon 1/29
            5. Sorting and making                             . 1.hrs

Continue working on the 8 remainder                     for the next week.

Email and phone call with Jason this morning before lunch .2hrs

Begin laying out                        for Jason later this afternoon. 2.hrs

Lunch

Begin
                                               form 1.hrs

Begin
                                                   process – Completed 1. hrs.




                                                                                        MUNCY-000156
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Daily Report
1-11-18

8am- working on sketch for James/Jason/Joe for in house
Emails

Joe phone call at 845- 910
Completed sketch 927am

Sent email to Joe
Working on errors for                  for Jason and Presentation 930am- 945am

Moved to the                                 @ 945am
10am went to Airport.



1-16-18 Back in Office after Moving to Lafayette

Received new iPhone, needed small tutorial on usage.

Set up my email account, and iCloud stuff with Shawn

Had phone conference with James and Kimberly regarding the first
      . Kim will be addressing the dates with Jason

Completed Service From                             , sent to Jason for approval

Completed                    for James Stahl Sent email to him and Joe

Joe and I have put James in motion on the                                                    .

Working on finishing first draft for                                     - Completed sending to Jason’s
email for approval



1-17-18 Snowed in this morning, worked half day due to safe driving concerns
Reached out to James regarding the

Reviewed the Sketch sent to me by James regarding the
Spoke to James via phone and discussed some                  issues

Worked the remainder of the day on the                                                     – draft
completed sending to Jason for amendments

Also took a brief look at what the
Went over Quote notes prior to leaving the office today




                                                                                                 MUNCY-000157
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01/18/18
Had long over the phone training session with Joe Roberts regarding the
2hr
Reading the              1 hr
Writing notes for Jason and daily report 30 min
Checking and sort emails. 30 min
lunch
Creation of a second draft out line for the                 1 hr
            Take into consideration the notes from call with Joe
Creation of draft for                        1 hr
Begin creation of                         for Kimberly 1 hr


1/19/2018

Begin research work instructions
Created a rough draft for
between both parties regarding                                    Completed 2.5 hrs. - Kim

Working on the                                                   . Completed 2hrs - Kim
Working on the Draft                                               Completed 2hrs - Jason
Working on a                                                       In process 1.5 hrs. – Jason




1/22/18
Worked on the Draft                                            . 1.5hrs COMPLETED
Worked on the Draft of new                                                        . 1 hr. COMPLETED
Worked on the changes for form                            for Jason’s notes above

                1 hr. CONPLETED
Worked on the                                   Draft- 1.5 HRS. COMPLETED
Worked on the                                        Draft - 1hr. COMPLETED
Working on the           for completion this afternoon for Jason as this deadline has passed. 1.5 hrs. In
Process projected completion 1/23/18

Notes:
Referring to list of completion for deadlines whilst making order list in my notes. .5 hrs.

Deadlines for 1st week EOB Jan12th
1st                 – Completed Draft
  st
1                     - completed Draft




                                                                                                 MUNCY-000158
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1st                         – In Process

Deadlines for 2st week EOB Jan19th
1st                  Completed on 18th Jan.
  st
1               – Completed on 17th Jan.
Added per Sales                                    for 25th Jan. Completed on 19th Jan.
All                   due, I have 10 in total to write this will need more time.
Request extra week

Deadlines for 3rd week EOB Jan 25th
Added per Sales                                      - Completed on 22nd Jan.
Added per Sales                                                 Completed on 22nd Jan.
Finals due for
               Due

1/23/18

Worked Most of the day on two things.
Emails .5hr
Spoke with Matt regarding the
He helped me out 1hr
Then the remainder of the day was spent working on finishing the
                     . 6.5hrs. Completed Draft for approval.

1/24/18


Working on                                this morning. 1.5hrs.
Emails with Justin, Shawn, James. .5hr
Working on                                  -01-010 2hrs.
Lunch
Continued working and making notes to come up with a                        . 1hr Completed draft
Sales Phone call with Kim regarding            and how we are going to do this? .5 hrs.
Emails: .5 hrs
Working on                                                            for Purchasing. 2 hrs. In
Process


01/25/18

Time worked from report:
Emails first thing .5hrs
Completed                                                (sent to Jason, James, John) 3hrs
Went to AT&T store to get voicemail set up. Company voicemail not working .5hrs
Lunch-
Finished                      .45 hrs.




                                                                                             MUNCY-000159
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Worked on changes to                   1 HR
Worked to                                             IN PROCESS 1HR
FILE SORTING VIA THE VPN AND MY NEW H DRIVE, NOT WORKING SO WELL, LOST DATA ALREADY. 1 HR


1/26/18

Emails .5hrs.

Forms Timeline:
Begin working on the final for the three main forms for Jason’s approval

            1.           1hr
            2.           .75hr
            3.           .5hr
            4.                           for Monday afternoon 1/29
            5. Sorting and making changes to all            . 1.hrs

Continue working on the 8 remainder work instructions for the next week.

Email and phone call with Jason this morning before lunch .2hrs

Begin laying out                        for Jason later this afternoon. 2.hrs

Lunch

Begin
                                               form 1.hrs

Begin
                                                   process – Completed 1. hrs.



1/29/2018

Rename forms and sort according to below format. .6hrs.

          format is as follows:




Working on the                                today accordingly to timeline. 1hr.
Break
Updated                            per Jason’s convo on phone today .5hrs – completed




                                                                                           MUNCY-000160
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Continued on                      1.75hr ongoing
Lunch
Continued with the
                - 1.5 hrs. Completed draft
Begin the completion of                            according to time line. 2.5 hrs Completed




                                                                                     MUNCY-000161
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Daily Report
1-11-18

8am- working on sketch for James/Jason/Joe for in house
Emails

Joe phone call at 845- 910
Completed sketch 927am

Sent email to Joe
Working on errors for                  for Jason and Presentation 930am- 945am

Moved to the                                 @ 945am
10am went to Airport.



1-16-18 Back in Office after Moving to Lafayette

Received new iPhone, needed small tutorial on usage.

Set up my email account, and iCloud stuff with Shawn

Had phone conference with James and Kimberly regarding the first draft template for the
      . Kim will be addressing the dates with Jason

Completed                                    Draft, sent to Jason for approval

Completed                    for James Stahl Sent email to him and Joe

Joe and I have put James in motion on the                                                    .

Working on finishing first draft for                                     - Completed sending to Jason’s
email for approval



1-17-18 Snowed in this morning, worked half day due to safe driving concerns
Reached out to James regarding the

Reviewed the Sketch sent to me by James regarding the
Spoke to James via phone and discussed some                 issues

Worked the remainder of the day on the                                                     – draft
completed sending to Jason for amendments

Also took a brief look at what the
Went over Quote notes prior to leaving the office today




                                                                                                 MUNCY-000162
   Case 4:21-cv-00468-MWB               Document 35-12           Filed 09/30/22       Page 23 of 125



01/18/18
Had long over the phone training session with Joe Roberts regarding the
2hr
Reading the Muncy SOPs 1 hr
Writing notes for Jason and daily report 30 min
Checking and sort emails. 30 min
lunch
Creation of a second draft out line for the                 1 hr
            Take into consideration the notes from call with Joe
Creation of draft for                        1 hr
Begin creation of                         for Kimberly 1 hr


1/19/2018

Begin research work instructions
Created a rough draft for
between both parties regarding                                    Completed 2.5 hrs. - Kim

Working on the                                                   . Completed 2hrs - Kim
Working on the Draft                                               Completed 2hrs - Jason
Working on a                                                       In process 1.5 hrs. – Jason




1/22/18
Worked on the Draft                                             1.5hrs COMPLETED
Worked on the Draft of new                                                    form. 1 hr. COMPLETED
Worked on the changes for form                            for Jason’s notes above

                1 hr. CONPLETED
Worked on the                                   Draft- 1.5 HRS. COMPLETED
Worked on the                                        Draft - 1hr. COMPLETED
Working on the           for completion this afternoon for Jason as this deadline has passed. 1.5 hrs. In
Process projected completion 1/23/18

Notes:
Referring to list of completion for deadlines whilst making order list in my notes. .5 hrs.

Deadlines for 1st week EOB Jan12th
1st                 – Completed Draft
  st
1                     - completed Draft




                                                                                                 MUNCY-000163
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1st                         – In Process

Deadlines for 2st week EOB Jan19th
1st                  Completed on 18th Jan.
  st
1               – Completed on 17th Jan.
Added per Sales                                    for 25th Jan. Completed on 19th Jan.
All                   due, I have 10 in total to write this will need more time.
Request extra week

Deadlines for 3rd week EOB Jan 25th
Added per Sales                                      - Completed on 22nd Jan.
Added per Sales                                                 Completed on 22nd Jan.
Finals due for forms
              Due

1/23/18

Worked Most of the day on two things.
Emails .5hr
Spoke with Matt regarding the
He helped me out 1hr
Then the remainder of the day was spent working on finishing the
                     . 6.5hrs. Completed Draft for approval.

1/24/18


Working on Changes regarding the certificate this morning. 1.5hrs.
Emails with Justin, Shawn, James. .5hr
Working on                                     -01-010 2hrs.
Lunch
Continued working and making notes to come up with a                             1hr Completed draft
Sales Phone call with Kim regarding               and how we are going to do this? .5 hrs.
Emails: .5 hrs
Working on                                                              t for Purchasing. 2 hrs. In
Process


01/25/18

Time worked from report:
Emails first thing .5hrs
Completed                                                (sent to Jason, James, John) 3hrs
Went to AT&T store to get voicemail set up. Company voicemail not working .5hrs
Lunch-
Finished                     . .45 hrs.




                                                                                             MUNCY-000164
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Worked on                         draft 1 HR
Worked to complete                                    IN PROCESS 1HR
FILE SORTING VIA THE VPN AND MY NEW H DRIVE, NOT WORKING SO WELL, LOST DATA ALREADY. 1 HR


1/26/18

Emails .5hrs.

Forms Timeline:
Begin working on the final for the three main forms for Jason’s approval

            1.           1hr
            2.           .75hr
            3.           .5hr
            4.            final completion for Monday afternoon 1/29
            5. Sorting and making changes to all              . 1.hrs

Continue working on the 8 remainder work instructions for the next week.

Email and phone call with Jason this morning before lunch .2hrs

Begin laying out                        for Jason later this afternoon. 2.hrs

Lunch

Begin
                                               form 1.hrs

Begin
                                                   process – Completed 1. hrs.



1/29/2018

Rename forms and sort according to below format. .6hrs.

          format is as follows:




Working on the                                today accordingly to timeline. 1hr.
Break
Updated                            per Jason’s convo on phone today .5hrs – completed




                                                                                           MUNCY-000165
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Continued on                      1.75hr ongoing
Lunch
Continued with the
                - 1.5 hrs. Completed draft
Begin the completion of             from documentation according to time line. 2.5 hrs Completed




                                                                                         MUNCY-000166
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Daily Report
New Month Ahead!

02/01/2018

Begin by emails ½ hr.
Begin working with the standard this morning, review and understanding refresher for mindset 1hr.

         Make new copy for writing use, notes, etc.

Begin also working on

                 for approval -final completed 2/1/18 1hr.
                 for new landscape look. Rev 03 completed 2hrs.
         Over One-hour lunch with Fetters today

Continue with the                         completion for final Rev.

Completed           for review. 2 hrs.

Working on Forms updates for Jason and Matt for mid Feb .5hrs

2/2/18

Making notes and checking emails .75 hrs.
Working on                revision 03 for final approval. 8:49am start, also having drive issues and
working with James via the                           list items. Back and forth between things. 1hr total
Continuing the Form Revision .25hrs
Sorting the new drive for ease of access and forms documentation along with a few Read.me files for
understanding the format. 1hr
Continuing the                      1hr

Lunch
Continuing the
Completed             for final review. 3.5 hrs
Emails .5hrs




                                                                                              MUNCY-000167
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Daily Report
New Month Ahead!

02/01/2018

Begin by emails ½ hr.
Begin working with the standard this morning, review and understanding refresher for mindset 1hr.

         Make new copy for writing use, notes, etc.

Begin also working on

                 for approval -final completed 2/1/18 1hr.
                 for new landscape look. Rev 03 completed 2hrs.
         Over One-hour lunch with Fetters today

Continue with the                         completion for final Rev.

Completed           for review. 2 hrs.

Working on Forms updates for Jason and Matt for mid Feb .5hrs

2/2/18

Making notes and checking emails .75 hrs.
Working on                revision 03 for final approval. 8:49am start, also having drive issues and
working with James via the                           list items. Back and forth between things. 1hr total
Continuing the Form Revision .25hrs
Sorting the new drive for ease of access and forms documentation along with a few Read.me files for
understanding the format. 1hr
Continuing the               Rev03 1hr

Lunch
Continuing the
Completed             for final review. 3.5 hrs
Emails .5hrs




                                                                                              MUNCY-000168
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Lori Spangler

From:                   Ric@muncyindustries.com
Sent:                   Friday, February 2, 2018 5:09 PM
To:                     jasonfetter@muncyindustries.com
Subject:                Daily Report
Attachments:            Daily Report.docx


Have a Great Weekend Sir! FYI Attached

Best regards,
Ric Szabo
Calibration Tech/Field Rep
Phone: (570) 649 5188
Cell: (337) 330 6860

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518




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                                                                                         MUNCY-000169
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Lori Spangler

From:                   Ric@muncyindustries.com
Sent:                   Monday, February 5, 2018 5:29 PM
To:                     jasonfetter@muncyindustries.com
Subject:                daily report
Attachments:            Daily Report.docx


Fyi. Have a good evening.

Best regards,
Ric Szabo
Calibration Tech/Field Rep
Phone: (570) 649 5188
Cell: (337) 330 6860

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518




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Daily Report
New Month Ahead!

02/01/2018

Begin by emails ½ hr.
Begin working with the standard this morning, review and understanding refresher for mindset 1hr.

         Make new copy for writing use, notes, etc.

Begin also working on

                 for approval -final completed 2/1/18 1hr.
                 for new landscape look. Rev 03 completed 2hrs.
         Over One-hour lunch with Fetters today

Continue with the                         completion for final Rev.

Completed           for review. 2 hrs.

Working on Forms updates for Jason and Matt for mid Feb .5hrs

2/2/18

Making notes and checking emails .75 hrs.
Working on                revision 03 for final approval. 8:49am start, also having drive issues and
working with James via the                           list items. Back and forth between things. 1hr total
Continuing the Form Revision .25hrs
Sorting the new drive for ease of access and forms documentation along with a few Read.me files for
understanding the format. 1hr
Continuing the               Rev03 1hr

Lunch
Continuing the
Completed             for final review. 3.5 hrs
Emails .5hrs

2/5/18 GO EAGLES SUPER BOWL CHAMPS

Emails this morning. .5hr
Reviewing           creation. .75hr

Call Magazine today find out pricing for full page articles as well as press release information.
The 3 Magazines are: Wire rope News, Wire Rope Exchange, Slingmaker (AWRF)
       Wire Rope News Completed 1hr

Working with James and            this morning to get the                  today. .25hr
Working on the                      10:45-12 pm 1.5hrs.
Lunch




                                                                                                    MUNCY-000171
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Worked on the         remainder of day 4 hrs.




                                                                        MUNCY-000172
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Lori Spangler

From:                   Ric@muncyindustries.com
Sent:                   Monday, February 12, 2018 5:27 PM
To:                     jasonfetter@muncyindustries.com
Subject:                daily report
Attachments:            Daily Report.docx


Fyi


Best regards,
Ric Szabo
Calibration Tech/Field Rep
Phone: (570) 649 5188
Cell: (337) 330 6860

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518




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Daily Report
New Month Ahead!

02/01/2018

Begin by emails ½ hr.
Begin working with the standard this morning, review and understanding refresher for mindset 1hr.

         Make new copy for writing use, notes, etc.

Begin also working on

                 for approval -final completed 2/1/18 1hr.
                 for new landscape look. Rev 03 completed 2hrs.
         Over One-hour lunch with Fetters today

Continue with the                         completion for final Rev.

Completed           for review. 2 hrs.

Working on Forms updates for Jason and Matt for mid Feb .5hrs

2/2/18

Making notes and checking emails .75 hrs.
Working on                revision 03 for final approval. 8:49am start, also having drive issues and
working with James via the                           list items. Back and forth between things. 1hr total
Continuing the Form Revision .25hrs
Sorting the new drive for ease of access and forms documentation along with a few Read.me files for
understanding the format. 1hr
Continuing the               Rev03 1hr

Lunch
Continuing the
Completed             for final review. 3.5 hrs
Emails .5hrs

2/5/18 GO EAGLES SUPER BOWL CHAMPS

Emails this morning. .5hr
Reviewing           creation. .75hr

Call Magazine today find out pricing for full page articles as well as press release information.
The 3 Magazines are: Wire rope News, Wire Rope Exchange, Slingmaker (AWRF)
       Wire Rope News Completed 1hr

Working with James and          this morning to get the                    today. .25hr
Working on the WI for calibration 10:45-12 pm 1.5hrs.
Lunch




                                                                                                    MUNCY-000174
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Worked on the                     remainder of day 4 hrs.

2/6/18
Morning emails combined with             and James regarding the                                 . Plus,
time involved while going over my files and setting up my drawers filing system. 1.5 hrs.
Break time .25hrs
Call                             . Talk about                    . .25hrs
Working on the
10:00-11:30 1.5 hrs.
Creating a                                           for my own use maybe Muncy can follow suit later
(This is for future scheduling and ease of routing)
11:30-12pm .5 hrs.
Lunch
Continuing the Work on the Customer Data Base .2hrs
Begin work on the                     Responsibilities and Duties. Completed Draft 3:45 pm- 3.25hrs
Continuing the                       .75 hrs


2/7/18
Morning emails .5hrs.
Working with photo shop to design the crane between building look, rough sketch. Looking good. 1.5hrs.
Morning meeting with James and the Gang. Missed Jason, 9-10 am. Focus this week is on the power
pack, I have some ideas for James. 1hr
Break .25hrs.
Working on the 2nd advertising info required by Jason, I have made contact, asked questions, no
response yet.
11:15 -12pm .75hrs.

Lunch

Continuing work on the Tech Super Responsibilities 4 hrs. Completed from scratch.


2/8/18

Emails .5
Phone Meeting with Matt per Job Description Cal Tech and Cal tech Super 1 hr.
Advertising notes and Research with                   today 1 hr.
                           Phone call attempt with James .5
                                begin .75 hrs. completed
Lunch

Timeline notes for projects so far .5hrs Putting on my think cap
Complete the                     for full submittal to Matt and Jason today completed – 2hrs.
Emails after lunch, ie. Bob @ Mozella, Matt for Procedures,                 .75hrs
Was put on the list for bathroom and floors weekly clean up. Today is my day. 1 hr




                                                                                                MUNCY-000175
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2/9/18
Off

2/12/18
Emails .5
Working on Certificate for Rebate/credit 1.25 hrs.
Phone call with Jason. .5hrs
       rev changes per Conversation 1.5 hrs.
Lunch
Continuing the              after lunch .25hrs
Phone call with Jason #2 regarding pricing calibrations and traveling. .75hrs
Emails .5hrs
Working on the            1 hr
Completing the Calibration Credit Certificate Draft 1hr
Continuing on the                                 .75hrs.




                                                                                       MUNCY-000176
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Lori Spangler

From:                   Ric@muncyindustries.com
Sent:                   Wednesday, February 21, 2018 5:28 PM
To:                     jasonfetter@muncyindustries.com
Subject:                Daily Report
Attachments:            Daily Report.docx


I have completed all tasks for the day which was quite a handful if I say so myself. All except the     which is on my
to do list for tomorrow as well as the clothing research.
I did a lot of collaboration with Matt today regarding the forms procedures. Also had to completely redo the
       , It was rank to be honest and now its sweet! lol

Best regards,
Ric Szabo
Calibration Tech/Field Rep
Phone: (570) 649 5188
Cell: (337) 330 6860

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518




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Daily Report

New Month Ahead!

02/01/2018

Begin by emails ½ hr.
Begin working with the standard this morning, review and understanding refresher for mindset 1hr.

         Make new copy for writing use, notes, etc.

Begin also working on

                 for approval final completed 2/1/18 1hr.
                 for new landscape look. Rev 03 completed 2hrs.
         Over One hour lunch with Fetters today

Continue with the                         completion for final Rev.

Completed           for review. 2 hrs.

Working on Forms updates for Jason and Matt for mid Feb .5hrs

2/2/18

Making notes and checking emails .75 hrs.
Working on                            for final approval. 8:49am start, also having drive issues and
working with James via the                           list items. Back and forth between things. 1hr total
Continuing the Form Revision .25hrs
Sorting the new drive for ease of access and forms documentation along with a few Read.me files for
understanding the format. 1hr
Continuing the               Rev03 1hr

Lunch

Continuing the
Completed             for final review. 3.5 hrs
Emails .5hrs

2/5/18 GO EAGLES SUPER BOWL CHAMPS

Emails this morning. .5hr
Reviewing           creation. .75hr

Call Magazine today find out pricing for full page articles as well as press release information.
The 3 Magazines are: Wire rope News, Wire Rope Exchange, Slingmaker (AWRF)
        Wire Rope News Completed 1hr

Working with James and            this morning to                          today. .25hr
Working on the                      10:45 12 pm 1.5hrs.
Lunch




                                                                                                MUNCY 000184
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Worked on the                     remainder of day 4 hrs.

2/6/18
Morning emails combined with                and James regarding the                              . Plus,
time involved while going over my files and setting up my drawers filing system. 1.5 hrs.
Break time .25hrs
Call                              . Talk about                    . .25hrs
Working on the                       ions
10:00 11:30 1.5 hrs.
Creating a                                           for my own use maybe Muncy can follow suit later
(This is for future scheduling and ease of routing)
11:30 12pm .5 hrs.
Lunch
Continuing the Work on the Customer Data Base .2hrs
Begin work on the          – Cal tech Responsibilities and Duties. Completed Draft 3:45 pm 3.25hrs
Continuing the                         .75 hrs


2/7/18
Morning emails .5hrs.
Working with photo shop to design the crane between building look, rough sketch. Looking good. 1.5hrs.
Morning meeting with James and the Gang. Missed Jason, 9 10 am. Focus this week is on the
    , I have some ideas for James. 1hr
Break .25hrs.
Working on the 2nd advertising info required by Jason, I have made contact, asked questions, no
response yet.
11:15 12pm .75hrs.

Lunch

Continuing work on the Tech Super Responsibilities 4 hrs. Completed from scratch.


2/8/18

Emails .5
Phone Meeting with Matt per Job Description Cal Tech and Cal tech Super 1 hr.
Advertising notes and Research with                   today 1 hr.
                           Phone call attempt with James .5
                          draft begin .75 hrs. completed
Lunch

Timeline notes for projects so far .5hrs Putting on my think cap
Complete the                     for full submittal to Matt and Jason today completed – 2hrs.
Emails after lunch, ie.                , Matt for Procedures,                .75hrs
Was put on the list for bathroom and floors weekly clean up. Today is my day. 1 hr




                                                                                                MUNCY 000185
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2/9/18
Off

2/12/18
Emails .5
Working on Certificate for Rebate/credit 1.25 hrs.
Phone call with Jason. .5hrs
       rev changes per Conversation 1.5 hrs.
Lunch
Continuing the              after lunch .25hrs
Phone call with Jason #2 regarding pricing calibrations and traveling. .75hrs
Emails .5hrs
Working on the            1 hr
Completing the                                Draft 1hr
Continuing on the                        Process. .75hrs.

2/13/18

    1. Emails .75hrs
    2. Phones .25hrs
    3. Change the sticker art.
    4. Complete the                w/o the screen shots from James
    5. Review Matt’s email and comment on the
    6. Get with Jason on the testing and training for the Calibration Technician candidates?
    7. Work on Certificate corrections
    8. Change the
4. @5.25hrs.
7. @.75hrs.

7 hr. day began at 9 am because of closed DMV due to Mardi Gras

2/14/18 VDAY

    1.   Emails – Jason / Matt/ James/             .5hrs
    2.   Phones/ Calibration Meeting today 9am 10 am / Jason, James.    2.25Hrs
    3.   Change the sticker art. xx
    4.   Change the
            a. Change the spacing to
                                                       Let Jason know that the worksheet is the

          b. Add the
    5. Work on the                                           and the changes for Jason
          a. Add the
    6. Making notes.                                    .5hrs
    7. Make an addition to the
                                          xxx
(4). 2.5 hrs. – continuing tomorrow
(5). 2.25 hrs. – completed




                                                                                               MUNCY 000186
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2/15/18

 Tasks
    1. Emails
    2. Credit certificate
    3.        changes
    4.        changes
    5. Creation of the
    6.

Time spent per task
   (1) 1hr
   (2)3.25hrs
   (3)2
   (4)1.5hrs
   (5).25hrs.

2/16/18

 Tasks
1.     Emails & document reviews
2.     Credit certificate
3.            changes
4.              changes, add

5.      Phone call meetings
6.      Form changes to the
                                   sent from Jason. Make the                  as needed making
        references.
7.      For Monday,

Time spent per task in hrs.
(1) .25 +.5 +.25 +1.5
(2) 0
(3) 1.5
(4) 1 + .75
(5) .25
(6) 2
(7)

2/20/18

Tasks
    1. For Monday, complete the

     2. Complete the
                                                 .
     3. Review Matt and Jason’s                        .




                                                                                   MUNCY 000187
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4. add a
5.               and make any changes necessary. Make the
   not on the revisions sheet.
6. Review the
7. Phone call meetings
8. emails

(1) 3.5
(2) 2.75 completed and submitted
(3) .25+
(4)
(5)
(6).5
(7).25+.5
(8) .5

2/21/18
Tasks for today

1.   Read through Jason’s sent procedures and make notes for additional info into the
2.   Complete the             review prior to lunch
3.   add a                                                                     revision no.
a.   Discuss with Matt on any forms and drafts, and organize matts folders to reflect mine
4.          review and make any changes necessary. Make the change
                            . Add the
a. Review all docs to amend the                       as needed
5. Review the
6. Make changes as needed to the related
7. Phone call meetings
8. Emails – send Jason an email laying out my plan for                                        . Who
is responsible and control under the iso
9. Review                         and confirm with Jason what is still needed.


(1).75 completed
(2)2 – completed for review and submitted prior to lunch
(3).75 – completed and submitted
(4) move to tomorrow for completion, this will take some time
(5).25 completed
(6).5 +1.75
(7).5+.25
(8).25
(9).75




                                                                                         MUNCY 000188
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Lori Spangler

From:                ric@muncyindustries.com
Sent:                Monday, December 16, 2019 11:56 PM
To:                  'Jason Fetter'; sales@muncyindustries.com; gunamr@muncyindustries.com;
                     alexr@muncyindustries.com
Subject:             FW: goals status's 12.16.19


All,

Status of Kits needed to be ordered or in production
                           is moving forward, Contacted                       this morning to ask for the
                                     can move forward on the adapters.       replied to me on 12/9/19 , Gave        till
        12.17.19 to get an answer. Have not heard from        in a week, Give him one more day, then I call it. Checked
        with              , and we are on track for :
             1. 12.19.19 completion of                                                              and has promised
                 prints/dwgs.
             2. Achieved super                                                      for items to make this a reality.
                  incomplete in PA, Getting list together to make one          to purchase all items decided upon to
        order. Not complete at this time, will work on diligently this week
                  incomplete in …… “”””””

Number of Muncy Boxes ready to ship in lab: 7
      One has been sold to                                           . Great Job Gunam and Kimberly GO TEAM!
      Need to discuss with the team Need to figure out what cal kits get Muncy boxes assigned to them.. If we have
      10 kits, do we make 20 boxes for those kits?

Outstanding Purchasing Requests
       Uniforms         needing approval,
       Working on Submitting one more this week ,                     tape measurer

Goals for the Week
        Calibrations abroad
        Completion of                                                   completed draft & sent 12.16.19 to Jason
        Completion of                          . Still acquiring info. Sent new Email asking for             help 12.16.19
        Create Spread sheet for the                                            year. EOW 12.27.19

Other deadlines
       Enforce and discuss with                           Completion Status’s many              go over and complete.
       Not on track sending email 12.17.19 requesting a call back asap.
                                Completion 12/24/19, all items approved and on order. Not ready for travel. On track
                                         /2020? Need to assess how long adapter machining and completion will
       take, along with lead times for              . On track, Sending email       12.17.19 requesting info
       Begin to Prepare                for Justin and Kimberly in PA I will have an excel spreadsheet for your approval
       EOB 12.23.19




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Best regards,
Ric Szabo
Calibration Tech/Field Rep
Phone: (570) 649 5188
Cell: (337) 330 6860

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518




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                                                                             MUNCY-000210
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Lori Spangler

From:                   ric@muncyindustries.com
Sent:                   Wednesday, December 25, 2019 10:22 PM
To:                     'Jason Fetter'; sales@muncyindustries.com; gunamr@muncyindustries.com;
                        alexr@muncyindustries.com
Subject:                FW: goals status's 12.26.19


All,

Status of Kits needed to be ordered or in production TOP PRIORITY ITEMS
                                    completed.    has what we need and I have what I need. Just getting price on the new
                       is all left to do.
                  incomplete in PA, Getting list together to make one         to purchase all items decided upon to
        order. Completion Date 12/30/19
                  incomplete in …… “”””””12/30/19
        Possible             Asked                            Monday 12.23.19

Number of Muncy Boxes ready to ship in lab: 7
      Need to compose a bulk order for a new round of 20 boxes.                        completion date 12/30/19
      Need to order cases for kit boxes, Will research this week, discussion with you on 12/27/19

Outstanding Purchasing Requests
       Uniforms         needing approval, sending to Shawn 12/26/19


Goals for the Week

        Complete all above discussions for approvals by 12.30.19
        Submit all        to you by 12.30.19
        Prepare for next week 2 cal kits to check in.
        Hook up Lab hoses and power, 12/30/19


Best regards,
Ric Szabo
Calibration Tech/Field Rep
Phone: (570) 649 5188
Cell: (337) 330 6860

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518




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                                                                                                     MUNCY-000211
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                                                                  MUNCY-000212
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Lori Spangler

From:                   ric@muncyindustries.com
Sent:                   Monday, December 30, 2019 10:49 AM
To:                     'Jason Fetter'; sales@muncyindustries.com; alexr@muncyindustries.com
Subject:                FW: goals status's 12.26.19


I forgot to add some other items for this week see below.
Section Addition Goals this week
         Begin Working on the Company owned vehicle Maintenance Plan for GMC, Ford 350 Diesel, Toyota Scion IM
         Begin working on a new Calibration Kit to be ordered for our next kit to be produced

Ric Szabo
Calibration Tech/Field Rep
Phone: (570) 649 5188
Cell: (337) 330 6860

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518




From: ric@muncyindustries.com <ric@muncyindustries.com>
Sent: Monday, December 30, 2019 8:55 AM
To: ric@muncyindustries.com
Subject: FW: goals status's 12.26.19




Ric Szabo
Calibration Tech/Field Rep
Phone: (570) 649 5188
Cell: (337) 330 6860

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518




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                                                                                                  MUNCY-000213
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From: ric@muncyindustries.com <ric@muncyindustries.com>
Sent: Wednesday, December 25, 2019 9:22 PM
To: 'Jason Fetter' <jasonfetter@muncyindustries.com>; 'sales@muncyindustries.com' <sales@muncyindustries.com>;
'gunamr@muncyindustries.com' <gunamr@muncyindustries.com>; 'alexr@muncyindustries.com'
<alexr@muncyindustries.com>
Subject: FW: goals status's 12.26.19

All,

Status of Kits needed to be ordered or in production TOP PRIORITY ITEMS
                           design completed.         has what we need and I have what I need. Just getting price on the new
                       is all left to do.
                                in PA, Getting list together to make one         to purchase all items decided upon to
        order. Completion Date 12/30/19
                                in …… “”””””12/30/19
                          , Asked                                Monday 12.23.19

Number of Muncy Boxes ready to ship in lab: 7
      Need to compose a bulk order for a new round of 20 boxes.                        completion date 12/30/19
      Need to order cases for kit boxes, Will research this week, discussion with you on 12/27/19

Outstanding Purchasing Requests
       Uniforms         needing approval, sending to Shawn 12/26/19


Goals for the Week

        Complete all above discussions for approvals by 12.30.19
        Submit all        to you by 12.30.19
        Prepare for next week 2 cal kits to check in.
        Hook up Lab hoses and power, 12/30/19


Best regards,
Ric Szabo
Calibration Tech/Field Rep
Phone: (570) 649 5188
Cell: (337) 330 6860

Muncy Industries, LLC
109A Balboa Drive
                                                             2


                                                                                                        MUNCY-000214
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Broussard, LA 70518




                                             3


                                                                             MUNCY-000215
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Lori Spangler

From:                   ric@muncyindustries.com
Sent:                   Monday, November 4, 2019 10:26 AM
To:                     jasonfetter@muncyindustries.com; sales@muncyindustries.com
Subject:                FW: Goals to Complete Tasks EOB Friday


I needed to add something to list see updated below

Best regards,
Ric Szabo
Calibration Tech/Field Rep
Phone: (570) 649 5188
Cell: (337) 330 6860

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518




From: ric@muncyindustries.com <ric@muncyindustries.com>
Sent: Monday, November 4, 2019 9:22 AM
To: 'Jason Fetter' <jasonfetter@muncyindustries.com>
Cc: 'sales@muncyindustries.com' <sales@muncyindustries.com>
Subject: RE: Goals to Complete Tasks EOB Friday

Goals this week, below:
        Complete Cal Lab to its upmost capability with my existing resources, Not moving machine at this time.
        Get approval for Hosing. (3 quotes are coming fast, EOB today)
        Clean up old Muncy Box lab               new classroom) next door. Bring all left over items over into main
        building and store in proper locations.(Today)
        Submit receipts today
        It has been requested by                                                     , wiring and testing, this week (8hrs
        minimum) with your approval.
        Complete Kit #1 Weight balance challenge between all containers. Show proof. My plan is to do one kit per
        week, when I am in Lafayette.
        Get                                          for our travel kits program this week. Request has been accepted
        by        already.
        Local calibrations with              Wednesday.
        Begin training with Aaron possibly.

                                                             1


                                                                                                       MUNCY-000216
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        Finalize                     training, sign off on practical at        this week.
        Place order with Shawn for New round of muncy box parts . We need a few extra for spare parts as well.

        Wow that’s a lot! I may have over done it, but it will give it my all.

Best regards,
Ric Szabo
Calibration Tech/Field Rep
Phone: (570) 649 5188
Cell: (337) 330 6860

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518




From: Jason Fetter <jasonfetter@muncyindustries.com>
Sent: Monday, November 4, 2019 7:43 AM
To: ric@muncyindustries.com
Cc: sales@muncyindustries.com
Subject: Re: Goals to Complete Tasks EOB Friday

Ric

Good morning.

Let’s go over last week’s list and send this week’s goals.

Please send me receipts and explanations today.

Sincerely,


Jason Fetter
Vice President
Muncy Industries, LLC
Main: (570) 649 5188
Cell: (281) 961 7658
http://www.MuncyIndustries.com

On Nov 1, 2019, at 4:54 PM, <ric@muncyindustries.com> <ric@muncyindustries.com> wrote:

        Gave it my all, sir. Even stayed late yesterday and today.
                                                               2


                                                                                                   MUNCY-000217
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•        Update plan for Lab and submit this afternoon (awaiting                           for Hoses sent
originally 10/25/19, then again on 10/29/19) Successful on Three sources for Quotes (Monday results)
and plan completed and submitted.
•        Finalize the FM # for calibration stickers with Dave and submit Artwork to Printer for
quoting(Use                   Completed, Quote in the works from                      , she contacted me
today twice with questions
•        Submit uniform            For approval Final Decision(includes Ric, Alex, Will Sizes) Approved by J
Fetter
•        Complete Kit #1 check in Sheet send to Jason (Monday,AM)
•        Build Muncy Box travel Case for Kit#1 & add to Kit #1. You and I Discussed new tactics for this
issue Thursday & I have a new plan of attack I will discuss Monday If you have a moment)
•        Write                                                             properly In process, I decided to
concentrate on the                                                  which has been completed and I have
submitted an          for you and Dave to approve
•        Write                                                       Still need to Do
•        Write                                               procedures. In process, I sent you what I have
completed so far via email today
•        Get with                                                            sheets and training program for
the other Locations. (Implement official training for other locations) Completed
•        Get the Lab prepped for the move, Carpet to be cut out, final Paint and trim, clean up room and
furniture and shelving in place. Put up Trim today, I pulled up my carpet for where the machine is going,
Making progress sir.

Best regards,
Ric Szabo
Calibration Tech/Field Rep
Phone: (570) 649 5188
Cell: (337) 330 6860

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518


<image001.png>

From: Jason Fetter <jasonfetter@muncyindustries.com>
Sent: Friday, November 1, 2019 3:26 PM
To: ric@muncyindustries.com
Cc: sales@muncyindustries.com
Subject: Re: Goals to Complete Tasks EOB Friday

Ric

How did we do?

Sincerely,


Jason Fetter
Vice President
Muncy Industries, LLC
                                                     3


                                                                                                MUNCY-000218
   Case 4:21-cv-00468-MWB             Document 35-12          Filed 09/30/22       Page 53 of 125

Main: (570) 649 5188
Cell: (281) 961 7658
http://www.MuncyIndustries.com

On Oct 30, 2019, at 9:48 AM, <ric@muncyindustries.com> <ric@muncyindustries.com> wrote:

       I sent your weekly update on           as per our agreement yesterday morning at 745
       am. Did you not see that?

       Best regards,
       Ric Szabo
       Calibration Tech/Field Rep
       Phone: (570) 649 5188
       Cell: (337) 330 6860

       Muncy Industries, LLC
       109A Balboa Drive
       Broussard, LA 70518


       <image001.png>

       From: Jason Fetter <jasonfetter@muncyindustries.com>
       Sent: Wednesday, October 30, 2019 9:35 AM
       To: ric@muncyindustries.com
       Cc: sales@muncyindustries.com
       Subject: Re: Goals to Complete Tasks EOB Friday

       Ric

       Good morning.

       Great! See see what you can do. Please also send update email on
                 .

       Before you build any kits, I don’t think they were approved by me: please call to
       discuss. I have indicated what I want:                                              ,
       and proof these goals are achieved.

       Please also submit receipts.

       Sincerely,



       Jason Fetter
       Vice President
       Muncy Industries, LLC
       Main: (570) 649 5188
       Cell: (281) 961 7658
       http://www.MuncyIndustries.com


                                                   4


                                                                                           MUNCY-000219
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   On Oct 30, 2019, at 7:03 AM, <ric@muncyindustries.com> <ric@muncyindustries.com>
   wrote:

          Jason I would like to achieve these completed tasks EOB Friday.

          •        Update plan for Lab and submit this afternoon (awaiting
          Approval on            for Hoses sent originally 10/25/19, then again on
          10/29/19)
          •        Finalize the                               with Dave and submit
          Artwork to Printer for quoting(Use Shawn Contact)
          •        Submit uniform            For approval Final Decision(includes
          Ric, Alex, Will Sizes)
          •        Complete Kit #1 check in Sheet send to Jason
          •        Build Muncy Box travel Case for Kit#1 & add to Kit #1
          •        Write
          properly
          •        Write
          •        Write                                                procedures
          •        Get with                                                  check in
          sheets and training program for the other Locations. (Implement official
          training for other locations)
          •        Get the Lab prepped for the move, Carpet to be cut out, final
          Paint and trim, Cleaned up and furniture and shelving in place.

          Best regards,
          Ric Szabo
          Calibration Tech/Field Rep
          Phone: (570) 649 5188
          Cell: (337) 330 6860

          Muncy Industries, LLC
          109A Balboa Drive
          Broussard, LA 70518


          <image001.png>




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                                                                                        MUNCY-000220
           Case 4:21-cv-00468-MWB               Document 35-12          Filed 09/30/22       Page 55 of 125


Lori Spangler

From:                   ric@muncyindustries.com
Sent:                   Thursday, November 14, 2019 9:37 PM
To:                     jasonfetter@muncyindustries.com
Subject:                FW: list update see added                 update design




Current status of documents
                                           100% completed – submitted 11/13/19
                                             – 100% Completed – submitted 11/13/19
                                          – 25% completed – began writing this evening 11/14/19
                                                Change request                                                    using the
             completed
Calibration Sticker changes – Draft for your approval – Completion today 11/14/19 – I have this created but I do not
have a way to produce art very well. Attached

Best regards,
Ric Szabo
Calibration Tech/Field Rep
Phone: (570) 649 5188
Cell: (337) 330 6860

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518




From: ric@muncyindustries.com <ric@muncyindustries.com>
Sent: Wednesday, November 13, 2019 9:41 AM
To: jasonfetter@muncyindustries.com
Subject: list

See below of what I have on my list to do:

•         Calibration stickers: what should be on the sticker I will draft this week and discuss next week with team to
finalize for final quoting. I did get quotes last week but something new came up this week during trip to add to sticker.

•      Submit uniform             For approval Final Decision(includes Ric, Alex, Will Sizes) completed. Following up with
Shawn today.

                                                              1


                                                                                                       MUNCY-000221
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•        Write                                                            properly I will complete early next week. No later
than 11/19/19
•        Write                                            Procedures – Beginning Today during travels today. Completion
goal date 11/16/19 amongst all calibrations and travels remaining this week.
•        Write                                                 procedures – Completion date today before leaving for
Airport 11/13/19
•        I have submitted an                                                                                 and I ‘ve heard
nothing, I will still make a draft revision for your approval. Completion of Draft 11/17/19

Current status of documents above:
                                          – 45% completed – will finish today before leaving hotel
                                              – 0% Completed – Will work on during travels today. Begin at hotel before
leaving today.
                                          – 0% completed –
                    – Calibration Equipment SOP Change request                                                    using the
         0% completed
Calibration Sticker changes – Draft for your approval – Completion today 11/13/19



Best regards,
Ric Szabo
Calibration Tech/Field Rep
Phone: (570) 649 5188
Cell: (337) 330 6860

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518




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                                                                                                       MUNCY-000222
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Lori Spangler

From:                   ric@muncyindustries.com
Sent:                   Friday, November 15, 2019 6:35 PM
To:                     jasonfetter@muncyindustries.com
Cc:                     'kimberly.wonesky'
Subject:                FW: list updated Friday 15:30pm


Jason I just want to keep you updated as much as possible See latest attached Updated Manuals Completed

Current status of documents
                                          – 100% completed – submitted 11/13/19
                                              – 100% Completed – submitted 11/13/19 Updating the document with
screen shots from todays                      and submitting again.
                                          – 99.9 % needs example pics 11/15/19 early today, org completion date
11/19/19
       submission –                                      request WI draft to add in the                Process using the
         0% completed completion Deadline 11/17/19 Monday.
Calibration Sticker changes – Draft for your approval – Completion today 11/14/19 – I have this created but I do not
have a way to produce art very well.

Per voluntary request – I want to create a                                                change, to allow use of the
                                                                  by The App itself. I plan on working this over the
weekend and tonight at the airport.



Best regards,
Ric Szabo
Calibration Tech/Field Rep
Phone: (570) 649 5188
Cell: (337) 330 6860

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518




From: ric@muncyindustries.com <ric@muncyindustries.com>
Sent: Thursday, November 14, 2019 8:37 PM

                                                            1


                                                                                                      MUNCY-000223
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To: jasonfetter@muncyindustries.com
Subject: FW: list update see added                   update design


Current status of documents
                                         – 100% completed – submitted 11/13/19
                                             – 100% Completed – submitted 11/13/19
                                         – 25% completed – began writing this evening 11/14/19
                    –                           Change request                                                  using the
         0% completed
Calibration Sticker changes – Draft for your approval – Completion today 11/14/19 – I have this created but I do not
have a way to produce art very well. Attached

Best regards,
Ric Szabo
Calibration Tech/Field Rep
Phone: (570) 649 5188
Cell: (337) 330 6860

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518




From: ric@muncyindustries.com <ric@muncyindustries.com>
Sent: Wednesday, November 13, 2019 9:41 AM
To: jasonfetter@muncyindustries.com
Subject: list

See below of what I have on my list to do:

•         Calibration stickers: what should be on the sticker I will draft this week and discuss next week with team to
finalize for final quoting. I did get quotes last week but something new came up this week during trip to add to sticker.

•        Submit uniform         For approval Final Decision(includes Ric, Alex, Will Sizes) completed. Following up with
       today.
•        Write                                                         properly I will complete early next week. No later
than 11/19/19
•        Write                                                     – Beginning Today during travels today. Completion
goal date 11/16/19 amongst all calibrations and travels remaining this week.
•        Write                                            procedures – Completion date today before leaving for
Airport 11/13/19

                                                             2


                                                                                                       MUNCY-000224
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•       I have submitted an                                                                              and I ‘ve heard
nothing, I will still make a draft revision for your approval. Completion of Draft 11/17/19

Current status of documents above:
                                          – 45% completed – will finish today before leaving hotel
                                              – 0% Completed – Will work on during travels today. Begin at hotel before
leaving today.
                                          – 0% completed –
       submission –                                      request                                               using the
         0% completed
Calibration Sticker changes – Draft for your approval – Completion today 11/13/19



Best regards,
Ric Szabo
Calibration Tech/Field Rep
Phone: (570) 649 5188
Cell: (337) 330 6860

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518




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                                                                                                     MUNCY-000225
           Case 4:21-cv-00468-MWB              Document 35-12         Filed 09/30/22      Page 60 of 125


Lori Spangler

From:                Ric@muncyindustries.com
Sent:                Thursday, January 18, 2018 5:06 PM
To:                  jasonfetter@muncyindustries.com
Subject:             FW:


Jason Please refer to this Rev o1 Draft of the SOP

From: Ric@muncyindustries.com [mailto:Ric@muncyindustries.com]
Sent: Thursday, January 18, 2018 3:50 PM
To: 'Joe Roberts' <joeroberts45@gmail.com>
Cc: 'Jason Fetter' <jasonfetter@muncyindustries.com>
Subject: RE:

Joe ,

Based on our phone call today, I have decided to correct the SOP changes that you suggested to get that behind me and
I made text changes also according to my notes. I will work on       for the form 1st thing in the morning and have that
ready for submittal by EOB tomorrow.

From: Joe Roberts [mailto:joeroberts45@gmail.com]
Sent: Wednesday, January 17, 2018 9:58 PM
To: Ric Szabo <Ric@muncyindustries.com>
Cc: Jason Fetter <jasonfetter@muncyindustries.com>
Subject: Re:

Good Start
More tomorrow

Joe

On Wed, Jan 17, 2018 at 5:25 PM, <Ric@muncyindustries.com> wrote:

 Joe I have created what I believe to be the beginning of a                                      outline

 Please take a look at the attached and please I beg of you to share your comments regarding my outline, please make
 any notes on the document for me to follow. It’s probably all wrong, as I do not have         in my hand at the
 moment but it is in process of getting purchased.




 Best regards,

 Ric Szabo

 Calibration Tech/Field Rep



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                                                                                                     MUNCY-000226
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Muncy Industries, LLC

109A Balboa Drive

Broussard, LA 70518




Phone: (570) 649 5188

Cell: (337) 501 1044




Joe Roberts
(M) 912.507.5577
POBox 14114
Savannah, GA 31416




                                             2


                                                                             MUNCY-000227
           Case 4:21-cv-00468-MWB               Document 35-12          Filed 09/30/22        Page 62 of 125


Lori Spangler

From:                Ric@muncyindustries.com
Sent:                Tuesday, January 16, 2018 3:28 PM
To:                  James Stahl; jasonfetter@muncyindustries.com; 'Joe Roberts'
Subject:             FW: Test bed Meeting notes


James see the attached list. It’s a mock up but just send me some thoughts on it, maybe whether or not we need to get
some serious purchasing going regarding missing items. Thank you

From: Ric@muncyindustries.com [mailto:Ric@muncyindustries.com]
Sent: Wednesday, January 10, 2018 1:30 PM
To: 'James Stahl' <James@muncyindustries.com>; 'Mom' <opheliaf@muncyindustries.com>; 'James Fetter'
<jfetter@muncyindustries.com>; 'Justin Fetter' <justinfetter@muncyindustries.com>; 'Jason Fetter'
<jasonfetter@muncyindustries.com>; 'mbell@muncyindustries.com' <mbell@muncyindustries.com>; 'Joe Roberts'
<joeroberts45@gmail.com>
Subject: RE: Test bed Meeting notes

James , I will be putting together a list of items that we will need to have in each kit prior to hitting the streets, minus
what you already have or have on order.
Also we need to dedicate some serious time to the certification process and how Muncy intends to achieve this digitally.
I do have a file but not sure how that’s going to play out.

Jason, we will need to discuss this in much more detail regarding the certification process and the current software file I
have, to achieve this.

From: James Stahl [mailto:James@muncyindustries.com]
Sent: Wednesday, January 10, 2018 10:14 AM
To: 'Mom' <opheliaf@muncyindustries.com>; 'James Fetter' <jfetter@muncyindustries.com>; 'Justin Fetter'
<justinfetter@muncyindustries.com>; 'Jason Fetter' <jasonfetter@muncyindustries.com>; mbell@muncyindustries.com;
ric@muncyindustries.com; 'Joe Roberts' <joeroberts45@gmail.com>
Subject: Test bed Meeting notes

Cylinders Just Arrived




                                                             1


                                                                                                        MUNCY-000228
           Case 4:21-cv-00468-MWB              Document 35-12     Filed 09/30/22      Page 63 of 125

Ric:
 Muncy Calibration sticker and calibration report.
 All of our calibration worksheets and stuff
 Ric will be filling out the                         and James will approve them to be ordered.




James Stahl
Electrical Engineer
Muncy Measurements Division Manager

Muncy Industries, LLC
5820 Susquehanna Trail
Turbotville, PA 17772

Phone: (570) 649 5188




                                                        2


                                                                                                  MUNCY-000229
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Lori Spangler

From:                   Ric Szabo <ric@muncyindustries.com>
Sent:                   Wednesday, July 15, 2020 4:34 PM
To:                     jasonfetter@muncyindustries.com
Subject:                FW: today list




Regards,

Ric Szabo
Calibration Tech/Field Rep

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518

Local: (337) 839 9000
Main: (570) 649 5188
Mobile: (337) 330 6860




From: Ric Szabo <ric@muncyindustries.com>
Sent: Tuesday, July 7, 2020 8:46 AM
To: 'Megan Delahoussaye' <megand@muncyindustries.com>
Subject: RE: today list

Will do, thanks

Regards,

Ric Szabo
Calibration Tech/Field Rep

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518

Local: (337) 839 9000

                                                              1


                                                                                          MUNCY-000230
            Case 4:21-cv-00468-MWB            Document 35-12             Filed 09/30/22   Page 65 of 125
Main: (570) 649 5188
Mobile: (337) 330 6860




From: Megan Delahoussaye <megand@muncyindustries.com>
Sent: Tuesday, July 7, 2020 8:38 AM
To: 'Ric Szabo' <ric@muncyindustries.com>
Subject: RE: today list

Complete                       – prepare to ship
Build 2 Muncy Boxes –
Take                                                              .
After that is complete

Time permitting – Begin tomorrows list
1 Muncy Box
                             ( Issue with          is still a problem)
       Explanation can be provided if need be.


Regards,

Megan Delahoussaye
Plant Administrator/Calibration/Recruiter/Sales

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518

Local: (337) 839 9000
Main: (570) 649 5188




                                                            2


                                                                                                 MUNCY-000231
           Case 4:21-cv-00468-MWB           Document 35-12              Filed 09/30/22   Page 66 of 125

From: Ric Szabo <ric@muncyindustries.com>
Sent: Tuesday, July 7, 2020 8:33 AM
To: 'Megan Delahoussaye' <megand@muncyindustries.com>
Subject: today list

Complete                      – prepare to ship
Build 2 Muncy Boxes –

Time permitting – Begin tomorrows list
1 Muncy Box
                             ( Issue with         is still a problem)
       Explanation can be provided if need be.

Regards,

Ric Szabo
Calibration Tech/Field Rep

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518

Local: (337) 839 9000
Main: (570) 649 5188
Mobile: (337) 330 6860




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                                                                                                MUNCY-000232
           Case 4:21-cv-00468-MWB               Document 35-12        Filed 09/30/22     Page 67 of 125


Lori Spangler

From:                   Ric Szabo <ric@muncyindustries.com>
Sent:                   Wednesday, April 15, 2020 10:05 AM
To:                     jasonfetter@muncyindustries.com; 'Megan Delahoussaye'
Subject:                FW: todays tasks -4/15/20


Task to complete today:
                 s approval – All Completed except Truck cover sending new soft cover quotes EOB today.
        Update status of                 quoting Status has changed and need to discuss going forward. Can we talk
        today? During my me time 3pm 5pm
        –                        _ Waiting on Kimberly to give Direction.
        Insulation in showroom continuing. Clean up the show room and the test bed machine.
        Work on Safety Screen Design Plan B – Let’s Talk I have a new idea to Share its simple, easy, and mildly
        expensive but it works!
        Sourcing                                      and getting pricing and Lead times.
        VERY IMPORTANT –                               we need to adhere to ASAP. Creating a list of these evident
        changes and the team needs to have a candid discussion on relevance and placement within our
                     This needs to be implement before we travel.


Regards,

Ric Szabo
Calibration Tech/Field Rep

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518

Local: (337) 839 9000
Main: (570) 649 5188
Mobile: (337) 330 6860




From: Ric Szabo <ric@muncyindustries.com>
Sent: Monday, April 13, 2020 10:45 PM
To: 'jasonfetter@muncyindustries.com' <jasonfetter@muncyindustries.com>; 'Megan Delahoussaye'
<megand@muncyindustries.com>
Subject: todays tasks 4/14/20
                                                            1


                                                                                                   MUNCY-000233
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Task to complete today:
                  approval – sent to your inbox last night
        Update status of                          Status has changed and need to discuss going forward. Can we talk
        today?
        –                          completed. Prepare items to be shipped to customer.
        Insulation in showroom continuing. Need Shandi’s help, Josh out today! Clean up the show room and the

        Work on Safety Screen Design Plan B – Lets Talk I have a new idea to Share its simple, easy, and mildly expensive
        but it works!


Regards,

Ric Szabo
Calibration Tech/Field Rep

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518

Local: (337) 839 9000
Main: (570) 649 5188
Mobile: (337) 330 6860




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                                                                                                     MUNCY-000234
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Lori Spangler

From:                 Ric@muncyindustries.com
Sent:                 Thursday, January 3, 2019 11:28 AM
To:                   jasonfetter@muncyindustries.com
Subject:              FW: tomorrows to do list


New Updates and times for Below:
Completion of assembly room – Completed ready for work. Will be going over today to begin my first box using the
written work instructions.
10 Muncy Box assemblies – Still have not received the                               . I tried to get more information on
Monday Dec 31st. I was told to stay out of it and let Sales and Shawn handle it. Once received I can complete the boxes
and put them into inventory for sale. Estimation Completion of 10 boxes: 01/25/19
                 –I have requested a timeline outline from him and a concept design for visual on this. He has been out
for vacation. I am reaching out today to his email to shoot him a reminder.
                                            – been working with                        and awaiting quotes. I have a small
email from        as of yesterday regarding a route to take. I feel this is a good suggestion. I have since replied and asked
for a little more advice and a starting point. My Goal is to have a                             we need by EOM.



From: Ric@muncyindustries.com <Ric@muncyindustries.com>
Sent: Friday, December 21, 2018 9:53 AM
To: 'Jason Fetter' <jasonfetter@muncyindustries.com>
Subject: RE: tomorrows to do list

Jason please see below in blue

From: Jason Fetter <jasonfetter@muncyindustries.com>
Sent: Thursday, December 20, 2018 2:01 PM
To: Ric@muncyindustries.com
Subject: Re: tomorrows to do list

Ric

Please give me update and timeline for:

Completion of assembly room – the room will be completed and ready for production 12 21 18
10 Muncy Box assemblies – we are awaiting
        is working the situation to get these to Lafayette ASAP. Once received I can complete the boxes and put them
into inventory for sale. Estimation Completion of 10 boxes: 01/11/19
                – I have been working with          this past couple of weeks in between his other projects. We have come
up with a concept design and he is sorting out the details. As of yesterday I have requested a timeline outline from him
and a concept design visual.
                                                                                   and awaiting quotes. I need to provide
both with a measurement of the
             . Need to get with James and/or Justin and decide which is the best way to utilize the top of the tester for
this purpose. We (Muncy) will need to fab something to                                                                  .
In process!

Thanks!
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                                                                                                          MUNCY-000235
                                                                                                                               Case 4:21-cv-00468-MWB               Document 35-12       Filed 09/30/22       Page 70 of 125


Sincerely,

Jason

Jason Fetter
Vice President

Muncy Industries, LLC
570 649 5188 Phone
570 649 5850 Fax
281 961 7658 Cell
http://www.MuncyIndustries.com

    The link ed image c annot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correc t file and l ocation.




On Oct 11, 2018, at 4:55 PM, <Ric@muncyindustries.com> <Ric@muncyindustries.com> wrote:

                                                                   Jason here is a taste of what I intend to do tomorrow. I’ll do my best to complete

                                                                   10/12/18
                                                                   Complete Work Evaluation and email to Jason
                                                                   Get with John and go next door and come up with an area to begin assembly of software Boxes.
                                                                   Complete Jason’s request for a Diagram Flow in the Muncy Box Assembly Plan
                                                                   Create List for Jason involving all items in each Calibration Kit.
                                                                   Talk briefly with Kimberly regarding the sales form discussed in the meeting and begin a draft for her
                                                                   Complete folders from Last Calibration trip and file away
                                                                   Clean out inbox

                                                                    Future below:
                                                                    Work on                                                                                              – compression                    ?

                                                                   By EOY complete the Design process, Approval, and Manufacturing of the
                                                                            Create sketch for                                   submit to Alex and Jason
                                                                            Design a standard size                                                 with all pins and
                                                                   associated boxes included.

                                                                   Best regards,
                                                                   Ric Szabo
                                                                   Calibration Tech/Field Rep
                                                                   Phone: (570) 649 5188
                                                                   Cell: (337) 330 6860

                                                                   Muncy Industries, LLC
                                                                   109A Balboa Drive
                                                                                                                                                                              2


                                                                                                                                                                                                                     MUNCY-000236
   Case 4:21-cv-00468-MWB   Document 35-12   Filed 09/30/22   Page 71 of 125
Broussard, LA 70518


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                                                                     MUNCY-000237
           Case 4:21-cv-00468-MWB              Document 35-12        Filed 09/30/22        Page 72 of 125


Lori Spangler

From:                   Ric Szabo <ric@muncyindustries.com>
Sent:                   Wednesday, April 1, 2020 9:29 AM
To:                     jasonfetter@muncyindustries.com
Subject:                FW: Updated to do List as of 4/1/20


Jason good morning, see my list today.

To do today:
Updated Complete and submit Draft revision of Vehicle Maintenance plan with a new single form stating Jason Fetters
guidelines.
        Need to review the personnel vehicle maintenance agreement, so I know what employees are responsible for
Updated Turn in Rough Draft for                         Instruction . Turning in Draft this morning.
Updated Finalize a decision today on who we will use to calibrate our             Mike is getting me a cert to look at
this morning
Updated Work out kinks with these rigging shops quoting our adapters and get some Costs. Lost one Shop today , must
acquire a new Shop to compare pricing. Send out a NDA
 Updated Follow up with Shawn and see if he ordered the Screen


This week forthcoming:
Calibrations Showed up at the shop 3/31/20, I will have some shop Cals to do this week –                . 2ea.
Add ons:
Get quotes on a                 this week $487.00
Submit New Draft and forms for Vehicle maintenance tomorrow 4/1/30 in am hours.
Keep working with Machine Shops pressing for quotes on Adapters this week.
Send Cal Kit 1 To Calibration Lab this week.
Complete and Finalize Work Instruction for Tester and approved by Jason


Regards,

Ric Szabo
Calibration Tech/Field Rep

Muncy Industries, LLC
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Mobile: (337) 330 6860




                                                              1


                                                                                                   MUNCY-000238
            Case 4:21-cv-00468-MWB              Document 35-12          Filed 09/30/22        Page 73 of 125




From: Ric Szabo <ric@muncyindustries.com>
Sent: Tuesday, March 31, 2020 2:31 PM
To: 'jasonfetter@muncyindustries.com' <jasonfetter@muncyindustries.com>
Subject: FW: Updated to do List as of 3/31/20

Jason, with all the different tasks, I have updated my list to keep us on track together. Did this on my lunch as to not take
time from Work hours.

To do today:
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guidelines.
        Must create the from in Excel this time.
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Shipping. Completed


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Keep working with Machine Shops pressing for quotes on Adapters this week.
Send Cal Kit 1 To Calibration Lab this week.
Complete and Finalize Work Instruction for Tester and approved by Jason


Regards,

Ric Szabo
Calibration Tech/Field Rep

Muncy Industries, LLC
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Local: (337) 839 9000
Main: (570) 649 5188

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                                                                                                        MUNCY-000239
           Case 4:21-cv-00468-MWB             Document 35-12         Filed 09/30/22     Page 74 of 125
Mobile: (337) 330 6860




From: Ric Szabo <ric@muncyindustries.com>
Sent: Tuesday, March 31, 2020 9:58 AM
To: 'Jason Fetter' <jasonfetter@muncyindustries.com>
Subject: RE: work from home today list

Jason my apologies, I thought since you had given me a number of tasks to complete, that I would keep going on them.
Here ‘s todays list.
Also See attached Updated Vehicle Maintenance Plan as we discussed.


To do today:
Complete and Finalize Vehicle Maintenance plan
Turn in Rough Draft for                        Instruction
Finalize a Decsion today on who we will use to calibrate our Cal Kits $$
Work out kinks with these rigging shops quoting our adapters and get some Costs.
Discuss Draft and complete draft revision and submit for secondary approval
Finalize and order Screen with Jason’s Approval. Get UPS Account # from Richard.

Calibrations Showed up at the shop today, I will have some shop Cals to do this weeek


Regards,

Ric Szabo
Calibration Tech/Field Rep

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                                                           3


                                                                                                  MUNCY-000240
             Case 4:21-cv-00468-MWB                Document 35-12         Filed 09/30/22   Page 75 of 125




From: Jason Fetter <jasonfetter@muncyindustries.com>
Sent: Tuesday, March 31, 2020 8:45 AM
To: ric@muncyindustries.com
Subject: Re: work from home today list

Ric

Good morning.

Please send this daily list of the days goals first thing in the Morning each day.

Thanks!

Sincerely,


Jason Fetter
Vice President
Muncy Industries, LLC
Main: (570) 649 5188
Cell: (281) 961 7658
http://www.MuncyIndustries.com


          On Mar 30, 2020, at 8:41 AM, ric@muncyindustries.com wrote:


          See attached list for today. Please call to discuss.

          Ric Szabo
          Calibration Tech/Field Rep
          Phone: (570) 649 5188
          Cell: (337) 330 6860

          Muncy Industries, LLC
          109A Balboa Drive
          Broussard, LA 70518


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                                                                                                  MUNCY-000241
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<work from home list.docx>




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                                                                      MUNCY-000242
           Case 4:21-cv-00468-MWB              Document 35-12          Filed 09/30/22       Page 77 of 125


Lori Spangler

From:                   Ric Szabo <ric@muncyindustries.com>
Sent:                   Thursday, April 2, 2020 10:26 AM
To:                     jasonfetter@muncyindustries.com
Subject:                FW: Updated to do List as of 4/2/20


Good Morning, I was hoping to have some huge changes to my list but only a few so far, See below:
To do today:
Updated Completed Vehicle Maintenance Log form Draft awaiting your review.
          Need to review the personnel vehicle maintenance agreement, so I know what employees are responsible for
Updated Turn in Rough Draft for                         Instruction . Completed – awaiting discussion or markups.
Updated Finalize a decision today on who we will use to calibrate our Cal Kits $$ spoke with Frank and he is sending
me an email this morning on Why we shouldn’t use .
Updated Work out kinks with these rigging shops quoting our adapters and get some Costs. I have a new second Shop
in Broussard,
 Updated Shawn did order the screen – possible arrival Today or Tomorrow in LAF.

In LAB: I will complete the       Calibration as I ran out of time yesterday evening. About 1 hr left on this.
         Continue to do tasks in shop such as , Clean up Lab, Hang power Disconnect over Forklift Charger
         Work with Scott Friday to hang up two lights in Bldg2 . Today I will rally and make sure I have everything
needed to complete this job successfully




Regards,

Ric Szabo
Calibration Tech/Field Rep

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Mobile: (337) 330 6860




                                                              1


                                                                                                       MUNCY-000243
           Case 4:21-cv-00468-MWB             Document 35-12         Filed 09/30/22        Page 78 of 125

From: Ric Szabo <ric@muncyindustries.com>
Sent: Wednesday, April 1, 2020 8:29 AM
To: 'jasonfetter@muncyindustries.com' <jasonfetter@muncyindustries.com>
Subject: FW: Updated to do List as of 4/1/20

Jason good morning, see my list today.

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guidelines.
        Need to review the personnel vehicle maintenance agreement, so I know what employees are responsible for
Updated Turn in Rough Draft for                   Work Instruction . Turning in Draft this morning.
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this morning
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 Updated Follow up with Shawn and see if he ordered the Screen


This week forthcoming:
Calibrations Showed up at the shop 3/31/20, I will have some shop Cals to do this week –                . 2ea.
Add ons:
Get quotes on a                 this week $487.00
Submit New Draft and forms for Vehicle maintenance tomorrow 4/1/30 in am hours.
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Send Cal Kit 1 To Calibration Lab this week.
Complete and Finalize Work Instruction for Tester and approved by Jason


Regards,

Ric Szabo
Calibration Tech/Field Rep

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                                                           2


                                                                                                   MUNCY-000244
           Case 4:21-cv-00468-MWB               Document 35-12          Filed 09/30/22        Page 79 of 125


From: Ric Szabo <ric@muncyindustries.com>
Sent: Tuesday, March 31, 2020 2:31 PM
To: 'jasonfetter@muncyindustries.com' <jasonfetter@muncyindustries.com>
Subject: FW: Updated to do List as of 3/31/20

Jason, with all the different tasks, I have updated my list to keep us on track together. Did this on my lunch as to not take
time from Work hours.

To do today:
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Shipping. Completed


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Regards,

Ric Szabo
Calibration Tech/Field Rep

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                                                                                                        MUNCY-000245
           Case 4:21-cv-00468-MWB             Document 35-12         Filed 09/30/22     Page 80 of 125




From: Ric Szabo <ric@muncyindustries.com>
Sent: Tuesday, March 31, 2020 9:58 AM
To: 'Jason Fetter' <jasonfetter@muncyindustries.com>
Subject: RE: work from home today list

Jason my apologies, I thought since you had given me a number of tasks to complete, that I would keep going on them.
Here ‘s todays list.
Also See attached Updated Vehicle Maintenance Plan as we discussed.


To do today:
Complete and Finalize Vehicle Maintenance plan
Turn in Rough Draft for                        Instruction
Finalize a Decsion today on who we will use to calibrate our Cal Kits $$
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Discuss Draft and complete draft revision and submit for secondary approval
Finalize and order Screen with Jason’s Approval. Get UPS Account # from Richard.

Calibrations Showed up at the shop today, I will have some shop Cals to do this weeek


Regards,

Ric Szabo
Calibration Tech/Field Rep

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                                                                                                  MUNCY-000246
             Case 4:21-cv-00468-MWB                Document 35-12         Filed 09/30/22   Page 81 of 125




From: Jason Fetter <jasonfetter@muncyindustries.com>
Sent: Tuesday, March 31, 2020 8:45 AM
To: ric@muncyindustries.com
Subject: Re: work from home today list

Ric

Good morning.

Please send this daily list of the days goals first thing in the Morning each day.

Thanks!

Sincerely,


Jason Fetter
Vice President
Muncy Industries, LLC
Main: (570) 649 5188
Cell: (281) 961 7658
http://www.MuncyIndustries.com


          On Mar 30, 2020, at 8:41 AM, ric@muncyindustries.com wrote:


          See attached list for today. Please call to discuss.

          Ric Szabo
          Calibration Tech/Field Rep
          Phone: (570) 649 5188
          Cell: (337) 330 6860

          Muncy Industries, LLC
          109A Balboa Drive
          Broussard, LA 70518


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<work from home list.docx>




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                                                                      MUNCY-000248
           Case 4:21-cv-00468-MWB              Document 35-12          Filed 09/30/22       Page 83 of 125


Lori Spangler

From:                   Ric Szabo <ric@muncyindustries.com>
Sent:                   Thursday, April 2, 2020 10:26 AM
To:                     jasonfetter@muncyindustries.com
Subject:                FW: Updated to do List as of 4/2/20


Good Morning, I was hoping to have some huge changes to my list but only a few so far, See below:
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 Updated Shawn did order the screen – possible arrival Today or Tomorrow in LAF.

In LAB: I will complete the                  as I ran out of time yesterday evening. About 1 hr left on this.
         Continue to do tasks in shop such as , Clean up Lab, Hang power Disconnect over Forklift Charger
         Work with Scott Friday to hang up two lights in Bldg2 . Today I will rally and make sure I have everything
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Regards,

Ric Szabo
Calibration Tech/Field Rep

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           Case 4:21-cv-00468-MWB             Document 35-12         Filed 09/30/22        Page 84 of 125

From: Ric Szabo <ric@muncyindustries.com>
Sent: Wednesday, April 1, 2020 8:29 AM
To: 'jasonfetter@muncyindustries.com' <jasonfetter@muncyindustries.com>
Subject: FW: Updated to do List as of 4/1/20

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Complete and Finalize Work Instruction for Tester and approved by Jason


Regards,

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Calibration Tech/Field Rep

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Mobile: (337) 330 6860




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                                                                                                   MUNCY-000250
           Case 4:21-cv-00468-MWB               Document 35-12          Filed 09/30/22        Page 85 of 125


From: Ric Szabo <ric@muncyindustries.com>
Sent: Tuesday, March 31, 2020 2:31 PM
To: 'jasonfetter@muncyindustries.com' <jasonfetter@muncyindustries.com>
Subject: FW: Updated to do List as of 3/31/20

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Regards,

Ric Szabo
Calibration Tech/Field Rep

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                                                                                                        MUNCY-000251
           Case 4:21-cv-00468-MWB             Document 35-12         Filed 09/30/22     Page 86 of 125




From: Ric Szabo <ric@muncyindustries.com>
Sent: Tuesday, March 31, 2020 9:58 AM
To: 'Jason Fetter' <jasonfetter@muncyindustries.com>
Subject: RE: work from home today list

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Calibrations Showed up at the shop today, I will have some shop Cals to do this weeek


Regards,

Ric Szabo
Calibration Tech/Field Rep

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                                                                                                  MUNCY-000252
             Case 4:21-cv-00468-MWB                Document 35-12         Filed 09/30/22   Page 87 of 125




From: Jason Fetter <jasonfetter@muncyindustries.com>
Sent: Tuesday, March 31, 2020 8:45 AM
To: ric@muncyindustries.com
Subject: Re: work from home today list

Ric

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Jason Fetter
Vice President
Muncy Industries, LLC
Main: (570) 649 5188
Cell: (281) 961 7658
http://www.MuncyIndustries.com


          On Mar 30, 2020, at 8:41 AM, ric@muncyindustries.com wrote:


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          Ric Szabo
          Calibration Tech/Field Rep
          Phone: (570) 649 5188
          Cell: (337) 330 6860

          Muncy Industries, LLC
          109A Balboa Drive
          Broussard, LA 70518


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   Case 4:21-cv-00468-MWB    Document 35-12   Filed 09/30/22   Page 88 of 125

<work from home list.docx>




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                                                                      MUNCY-000254
           Case 4:21-cv-00468-MWB               Document 35-12          Filed 09/30/22        Page 89 of 125


Lori Spangler

From:                   Ric Szabo <ric@muncyindustries.com>
Sent:                   Tuesday, March 31, 2020 3:31 PM
To:                     jasonfetter@muncyindustries.com
Subject:                FW: Updated to do List as of 3/31/20


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Regards,

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Mobile: (337) 330 6860




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                                                                                                        MUNCY-000255
           Case 4:21-cv-00468-MWB             Document 35-12         Filed 09/30/22     Page 90 of 125




From: Ric Szabo <ric@muncyindustries.com>
Sent: Tuesday, March 31, 2020 9:58 AM
To: 'Jason Fetter' <jasonfetter@muncyindustries.com>
Subject: RE: work from home today list

Jason my apologies, I thought since you had given me a number of tasks to complete, that I would keep going on them.
Here ‘s todays list.
Also See attached Updated Vehicle Maintenance Plan as we discussed.


To do today:
Complete and Finalize Vehicle Maintenance plan
Turn in Rough Draft for
Finalize a Decsion today on who we will use to calibrate our Cal Kits $$
Work out kinks with these rigging shops quoting our adapters and get some Costs.
Discuss Draft and complete draft revision and submit for secondary approval
Finalize and order Screen with Jason’s Approval. Get UPS Account # from Richard.

Calibrations Showed up at the shop today, I will have some shop Cals to do this weeek


Regards,

Ric Szabo
Calibration Tech/Field Rep

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518

Local: (337) 839 9000
Main: (570) 649 5188
Mobile: (337) 330 6860




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From: Jason Fetter <jasonfetter@muncyindustries.com>
Sent: Tuesday, March 31, 2020 8:45 AM
To: ric@muncyindustries.com
Subject: Re: work from home today list

Ric

Good morning.

Please send this daily list of the days goals first thing in the Morning each day.

Thanks!

Sincerely,


Jason Fetter
Vice President
Muncy Industries, LLC
Main: (570) 649 5188
Cell: (281) 961 7658
http://www.MuncyIndustries.com


          On Mar 30, 2020, at 8:41 AM, ric@muncyindustries.com wrote:


          See attached list for today. Please call to discuss.

          Ric Szabo
          Calibration Tech/Field Rep
          Phone: (570) 649 5188
          Cell: (337) 330 6860

          Muncy Industries, LLC
          109A Balboa Drive
          Broussard, LA 70518


          <image001.png>




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<work from home list.docx>




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                                                                      MUNCY-000258
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Lori Spangler

From:                   Ric@muncyindustries.com
Sent:                   Friday, August 23, 2019 11:26 AM
To:                     'Jason Fetter'
Cc:                     sales@muncyindustries.com
Subject:                RE: This weeks Goals


See goal Dates below added to list. My apologies for not dating them, They were originally hot added because they were
for this week only.


Best regards,
Ric Szabo
Calibration Tech/Field Rep
Phone: (570) 649 5188
Cell: (337) 330 6860

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518




From: Jason Fetter <jasonfetter@muncyindustries.com>
Sent: Friday, August 23, 2019 7:09 AM
To: ric@muncyindustries.com
Cc: sales@muncyindustries.com
Subject: Re: This weeks Goals

Ric

Every goal needs a due date. You must assume there will be issues arising that impede progress, but you still hit the
date because you allocated time and you worked toward that goal. Being busy does not get results.

Give me timelines you will hit. Our department is beginning to look incompetent by not finishing the lab in a year, not
paying attention to detail (our own kits incomplete, not calibrated).

We need to prioritize, plan, focus, execute, measure our success. This is something you can do.

Please call me this morning after 10:00 cdt to discuss.
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Sincerely,
Jason Fetter
Vice President
Muncy Industries, LLC
Main: (570) 649 5188
Cell: (281) 961 7658
http://www.MuncyIndustries.com


On Mon, Aug 19, 2019 at 2:18 PM 0400, <Ric@muncyindustries.com> wrote:

Jason, Kimberly,

This week I would like to get some important tasks:
    1.




             Please add to my list if needed

Best regards,
Ric Szabo
Calibration Tech/Field Rep
Phone: (570) 649 5188
Cell: (337) 330 6860

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518


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